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Ordell Elizabeth Moon
1905 Bristol St.
Petaluma, CA 94954



                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA

RE: ORDELL ELIZABETH MOON                    Case No. 23-cv-04521-PCP

                   Appellant,

             v.

CITIBANK, N.A., DEUTSCHE
BANK NATIONAL TRUST
COMPANY

              Appellees.
___________________________/


          REQUEST FOR FURTHER TIME TO FILE OPENING BRIEF
                  WITH DECLARATION IN SUPPORT

        The request of Ordell Elizabeth Moon, Movant, through Authorized
Representative Don Shannon respectfully presents:


1.      Movant has filed an appeal of the Bankruptcy Court Order Dismissing
Case to be heard in the UNITED STATES DISTRICT COURT.


2.      Movant did not become aware of briefing schedule until September 21,
2023.
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3.      Movant contacted the clerk from the UNITED STATES DISTRICT
COURT by telephone on September 22, 2023 and was informed that the
schedule was on the website.


4.      Movant being a pro se litigant was unaware of the procedural processes
of the United States District Court for scheduling but was expecting a written
notice from the court and not an electronic one.


5.      The BRIEFING SCHEDULE stated that the appellant’s opening brief is
due 5 October 2023.


6.      On 29 September 2023, Movant called the Court to ask for extension of
time to file stated documents but no one was in the office with which to speak
with.


7.      Due to the late date at which Appellant received notification of
BRIEFING SCHEDULE, Movant requests more time to comply with same.


        WHEREFORE, Movant prays that the time for filing appellant’s opening
brief be extended for fifteen days plus mailing or whatever time the court
deems fair.



Dated: 2 October 2023             Respectfully Presented,


                                By:________________________________
                                     Don Shannon, AR for Appellant

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           Declaration in Support of Request For Further Time
                          To File Opening Brief

Ordell Elizabeth Moon, Movant, through Authorized Representative Don
Shannon state the following facts:

1.   That I am the Authorized Representative of the Appellant in the
     above-entitled action
2.   That after contacting the clerk of the United States District Court on
     September 22, 2023, it was then that Movant became aware of the
     appellate briefing schedule.
3.   That the clerk of court mailed to Movant the briefing scheduling
     document that wasn’t received until September 22, 2023.
4.   That Movant was unaware of procedural rules of the USDC notification
     by use of internet services of the USDC.
5.   That due to the lateness of Movant receiving notice of briefing schedule,
     Movant being a pro se litigant needs an extension of the opening brief
     filing deadline.
6.   That extension of the filing deadline two weeks should not be a
     hindrance to Appellees’ legal counsels’ preparation of responding
     briefs.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.


Executed on October 2, 2023

                             By:________________________________
                                  Don Shannon, AR for Appellant

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I, declare as follows:

I am over the age of eighteen years old and not a party to the within action.

On October 2nd, A.D. 2023 I served by U.S. Mail a true copy of REQUEST FOR
FURTHER TIME TO FILE OPENING BRIEF WITH DECLARATION IN SUPPORT
in the UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA,
CALIFORNIA to:


Malcolm Cisneros, A Law Corp.            Robertson, Anschutz, Schneid & Crane LLP
Attn: Nathan F. Smith                    Attn: Fanny Zhang Wan
2112 Business Center Drive, 2nd Fl,      350 10th Ave., Suite 1000
Irvine, California 92612                 San Diego, CA 92101
(949) 252-9400                           (470) 321-7112


And that I served the same by depositing in an envelope a copy of the above stated
documents, sealed the same and paid the required postage for mailing which was sent to
the addresses herein which has service for U.S. Mail available.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on: 10/02/2023                           By: _____________________________




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